 

Case 7:08-cr-OOO49-RA.] Document 177 Filed 06/16/08 Page 1 of 17

United States Dtstrict Court
Northern District of Texas

Karen Mitchell, Clerk of Court
501 West Tenth Street, Room 310

R E C E l V ELIDK'I Worth, Texas 76102

  
  

June ll, 2008
JUN 1 6 2003
CLERK, U_ 3 g -
United States District Clerk BV:ESTERN ' m COURT
Western District of Texas, Midland-()dessa Division
200 East Wall, Room 107
Midland, TX 79701

''''''''

SUBJECT: Our Case 4:08-MJ-100(01) Your Case No. MO-OS-CR-049-01
United States of Arnerica v. Eric Paul Krueger
Our Case: 4:08-MJ-100 (02) Your Case No. MO-08-049-02
United States of America v. Michael Zachariah Gomez

Dear Clerk:

Rule 5(c) papers on the above-named individuals are being transmitted to your district.
The enclosed documents constitute the instruments that were filed in this court. A certified copy
of the docket sheet is also being forwarded

A copy of this letter and return envelope are enclosed for your convenience in
acknowledging receipt of this file.
Sincerely,
KAREN MITCHQ:J::LL

Kjl'§eputy Clerl<

 

Enclosures

 

Please acknowledge below receipt of the documents described above.

Date: Clerk, U.S. District Court

 

Deputy Clerk

 

 

 

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/ersion 3.2.1 Case 7:08-cr-C*49-RA.] Documerhtflz$/?e€f|nitéc§i®@a/@Bbil¢%l@@@ld$?]?%6243942747~L_56-~~

 

CLOSED

U.S. District Court
Northern District of Texas (Fort Worth)
CRIMINAL DOCKET FOR CASE #: 4:08-mj-00100 All Defendants
Internal Use Only

Case title: USA v. Krueger et al Date Filed: 06/10/2008
Other court case number: MO-OS-CR-049 Western District of Date Terminated: 06/11/2008
TeXas/Midland-Odessa Division

 

Assigned to: Magistrate Judge Charles
Bleil

Defendant §1[

Eric Paul Krueger represented by Peter Michael Fleury

TERMINA TED.' 06/11/2008 Fedcral Public Defender - Fort Worth
819 Taylor St
Room 9A10

Fort Worth, TX 76102
817/978-2753

FaX: 817/978-2757 FAX

Email: peter__fleury@fd.org

LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Public Defender or
Community Defender Appol`ntment

Pending Counts Disposition
None

Highest Offense Level gOpening[

None

C@;:f.s't§t§od a true copy of_en instrument
_---~--_----_--Te"“inated C°“”ts :;¢.; 3 in B§M.l£i_°lbn (/£:l f ~§ 2 §§
None of;_, U.S. l:»é&`§r‘i€t Cout"t,

  

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I_I_ighest 0ffense Level (Terminated)

None

6/11/2008 5:00 PM

 

District Version 3.2.1 CB.S€ 7208-Cr-Ow9-RAJ

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Complaints

21 :841(a)(l), (b)(l)(A); 21:846
Conspiracy to Distribute and Possess
with Intent to Distribute Controlled
Substance

 

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Disposition

 

Assigned to: Magistrate Judge Charles
Bleil

Defendant g2[

Michael Zachariah Gomez
TERMINA TED: 06/] 1/2008

Pending Counts
None

Highest Offense Level gOpening[

None

Terminated Counts

None

H_ighest Offense Level (Terminated)

None

Complaints

21 :841(a)(1), (b)(l)(A); 21 :846
Conspiracy to Distribute and Possess
with Intent to Distribute Controlled
Substance

represented by William H Ray

Law Ofiice of William H Ray
512 Main St

Suite 308

Fort Worth, TX 76102
817/698-9090

Fax: 817/698~9092 FAX
Email: bill@billraylawyer.com
LEAD ATTORNEY
ATTORNEY TOBENOTICED
Designation.' CJA Appointment

Disposition

Disposition

Disposition

 

6/11/2008 5:00 PM

 

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Plaintiff
USA represented by Robert Austin Klinck
US Attorney's Office
801 Cherry St
Suite 1700
Fort Worth, TX 76102
817/252-5200
Fax: 817/978-3094
Email: robert.klinck@usdoj. gov
LEAD ATTORNEY
ATTGRNEY TO BE NOTICED
Desz`gnatz`on: Retained
Date Filed # Docket Text
06/10/2008 §§ Arrest (Rule 5) of Eric Paul Krueger(()l) and Michael Zachariah Gomez (02).
Case Number MO-OS-CR-049 from Western District of Texas Midland-Odessa
Division. (jah) (Entered: 06/11/2008)
06/10/2008 r“ 1 MOTION for Pretrial Detention filed by USA as to Eric Paul Krueger (jah)
(Entered: 06/1 1/2008)
06/10/2008 §§ _2_ Minute Entry for proceedings held before Magistrate Judge Charles Bleil: Iriitial

Appearance on Rule 5(c) hearing as to Eric Paul Krueger held on 6/10/08. Deft
arrested 6/10/08 on warrant from the Western District of Texas,
Midland-Odessa Division; Deft appeared w/counsel; Deft executed financial
affidavit; O/appointing FPD entered; Deft waives Rule 5(c) hearing as to
identity and requests detention hearing in prosecuting district; O/Ans & Appear
in prosecuting district entered; O/cornmitment to prosecuting district entered;
Deft remanded to custody. Attomey Appearances: AUSA - Robert Klinck;
Defense - Peter Fleury. (Tape #Digital File.) Time in Court: 4 minutes (jah)
(Entered: 06/1 1/2008)

 

06/10/2008 §§ § WAIVER of Rule 5(0) Hearings by Eric Paul Krueger: re Identity Hearing and
has been informed no right to a preliminary examination and, therefore,

consents to the issuance of an order requiring appearance in the prosecuting
district where charge is pending (jah) (Entered: 06/11/2008)

 

 

 

06/10/2008 §§ § ***CJA 23 Financial Affidavit by Eric Paul Krueger (jah) (Entered:
06/ 1 1/2008)

06/10/2008 §§ § ORDER APPOlNTING FEDERAL PUBLIC DEFENDER as to Eric Paul
Krueger. Peter Michael Fleury for Eric Paul Krueger appointed (Signed by
Magistrate Judge Charles Bleil on 6/10/08) (jah) (Entered: 06/11/2008)

06/10/2008 § § ORDER HOLDING DEFENDANT TO ANSWER AND APPEAR IN

DISTRICT OF PROSECUTION OR DISTRICT HAVING PROBATION
IURISDICTION as to Eric Paul Krueger: detained without bond and ordered
removed to Charging District. (copy USM 6/10/08) (Signed by Magistrate Judge
Charles Bleil on 6/10/08) (jah) GEntered: 06/11/2008)

 

 

 

 

 

3 0f5 6/11/2008 5:00 PM

 

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06/10/2008 ~ 1 COMMITMENT TO ANOTHER DISTRICT as to Eric Paul Krueger.
Defendant committed to District of Western District of Texas, Midland-Odessa
Division, Case # MO-OS-CR-049-Ol. (certitied copy to USM 6/10/08) (Signed
by Magistrate Judge Charles Bleil on 6/10/08) (jah) (Entered: 06/11/2008)

§

 

06/10/2008 MOTION for Pretrial Detention filed by USA as to Michael Zachariah Gomez

(02) (jah) (Entered: 06/11/2008)

lee

 

06/10/2008 Minute Entry for proceedings held before Magistrate Judge Charles Bleil: lnitial
Appearance on Rule 5(c) hearing as to Michael Zachariah Gornez held on
6/10/08. Deft arrested 6/10/08 on warrant from the Western District of Texas,
Midland-Odessa Division; Deit appeared w/counsel; Deft executed financial
affidavit; O/ appointing CJA William Ray entered; Dei°c Waives Rule 5(c)
hearing as to identity and requests detention hearing in prosecuting district;
O/Ans & Appear in prosecuting district entered; O/commitrnent to prosecuting
district entered; Deft remanded to custody. Attorney Appearances: AUSA -
Robert Klinck; Defense - William Ray. (Tape #Digital File.) Tirne in Court: 4

minutes (jah) (Entered: 06/11/2008)

***CJA 23 Financial Afiidavit by Michael Zachariah Gomez (jah) (Entered:
06/11/2008)

CJA 20 as to Michael Zachariah Gomez: Appointment of Attorney William H
Ray for Michael Zachariah Gomez. Attorney notiiied and Appointment Packet
mailed. (Signed by Magistrate Judge Charles Bleil on 6/10/08) (jah) (Entered:

06/11/2008)

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06/10/2008

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06/10/2008

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06/10/2008 §§ _1_2 WAIVER of Rule 5(c) Hearings by Michael Zachariah Gomez re: Identity
Hearing and, therefore, consents to the issuance of an order requiring
appearance in the prosecuting district where charge is pending (jah) (Entered:
06/ 1 1/2008)

06/10/2008 §§ 13 ORDER HOLDING DEFENDANT TO ANSWER AND APPEAR lN
DISTRICT OF PROSECUTION OR DISTRICT HAV]NG PROBATION
JURISDICTION as to Michael Zachariah Gomez: detained without bond and
ordered removed to Charging District. (copy USM 6/10/08) (Signed by
Magistrate Judge Charles Bleil on 6/10/08) (jah) (Entered: 06/11/2008)

 

”E

 

 

06/10/2008 ;;:; ml_§ COMMITMENT TO ANOTHER DISTRICT as to Michael Zachariah Gornez.
Defendant committed to District of Western District of Texas, Midland-Odessa
Division, Case # MO-OS-CR-049-02. (certified copy to USM 6/10/08) (Signed
by Magistrate Judge Charles Bleil on 6/1()/08) (jah) (Entered: 06/11/2008)

06/11/2008 §§ § Transmitted Rule 5(c) case papers as to Eric Paul Krueger, Michael Zachariah

Gomez certified copy of docket along with transmittal letter to US District
Clerk's Ofiice, Western District of Texas, Midland-Odessa Division Case #
MO-08-049 mailed by Fed EX (jah) (Entered: 06/11/2008)

 

06/11/2008 §§ (Court only) ***Terminated defendant Michael Zachariah Gomez and Eric Paul
Krueger, pending deadlines, and motions., ***Set/Clear Flags as to Eric Paul
Krueger, Michael Zachariah Gomez (jah) (Entered: 06/11/2008)

 

 

 

 

 

4 of 5 6/11/2008 5:00 PM

 

Case 7:08-cr-O

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FOR TI-IE NORTHERN DISTRICT OF TEXAS

 

FORT WORTH DIVISION
UNITED STATES 0F AMERICA §
§
v. § Case No. 4:C
§
ERIC PAUL KRUEGER (1) §

GOVERNMENT’S MOTION FOR PRETRIAL DET

U.S. DlS"l`RlCT COURT y
NORTHERN DlSTRlCT OF TEXAS

,FlLED t

    

ENTIQl‘ill-Rk, ii.s. nis'rRiCr CoURT
B.v

 

cputy

 

The United States moves for pretrial detention of the defendant pursuant to 18 U.S.C.

§ 3142(@) and (+)”

1. Eligibility of Case: This case is eligible for a detention rder because the case involves:

Crime ofviolence (18 U.S.C. § 3156)
Controlled Substance offense punishable
by 10 or more years

Fclony with 2 prior convictions in above categories

Z

Serious risk that the Defendant will flee

Maximum sentence of LIFE imprisonment or death
_Felony involving a minor victim
_Felony involving failure to register (18 U.S.C. § 2250)

Fclony involving the possession or use of a firearm, destructive device, or other dangerous weapon
_Serious risk that Defendant will obstruct justice

2. Reason for Detention: The Court should detain the Defendant because there are no conditions of release which would

reasonably assure:

Def`endant's appearance as required _XThe safety of the community __The safety of another person.

3. Rebuttable Presumption: The United States will/ will not invoke the rebuttable presumption against the Defendant

because ill-fre is probable cause to believe that the Defendant has committed

Controlled Substance Offense punishable by 10 or more years imprisonment

Firearms offense under 18 U.S.C. § 924(c)
Fclony involving a minor victim (18 U.S.C. § § 1201, 2251)
Federal crime of terrorism, 18 U.S.C. § § 2332b(g)(5)

Previous conviction for “eligible” offense committed while on pretrial bond

4. Time for Detention Hearing: The United States requests the Court to conduct the detention hearing ________ at the

Defendant's first appearance__; after a continuance of __3__ days.
Respectfully submittcd,

RICHARD B. ROPER

UNIT STATESAFE\NEY

iioBERT Ai KLINCK
Assistant United States Attomey
Texas State Bar No, 24036917
801 Cherry Street, Suite 1700
Foit Worth, Texas 76102
Telephone: 817.252.5200
Facsimile: 817.978.3094

CERTIFICATE OF SERVICE

l certify that a true and correct copy of the above pleading was this day served upon the Defendant or his counsel
of record in accordance with the provisions of Rule 49 of the Federal Rules of Criminal Procedure.

DATE: "@ 3 5_.___ M/é<%

RoBERT A. KLINCK
Assistant United States Attomey

 

 

 

Case 7:08-cr-OOW-RA.] Document 177 Filed O€/WS Page 7 of 17

UNITED STATES DISTRlCT COURT
NORTHERN DISTRlCT OF TEXAS
DIVISION

 

JUDGE: CHARLES BLEIL

 

DEPUTY CLERK: JULlE HARWELL COURT REPORTER/TAPE NO: DIGITAL FILE

 

LAW CLERK: usPo/PTSO: El&{\@(] l\lY`\CQll lille

 

iNTERPRETER: CoURT TIME; L‘l‘ YY\'\ \f\ \)\~i€;§

 

 

 

 

A.M. P.M@ fl Q)-H"&© DATE: JUNE 10, 2008

 

 

 

MAG. No. 4;08-MJ-100@1)

UNITED sTATEs oF AMERICA i;~.s. pistRichcTO§§fi§T\,EMQ©b€(`\/ \/\l\ l\Q/l§ AUSA

NORTHERN DlS'l`Rl

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DEFENDAN'I`(S) NAME(S) AND NUMBEI< (S) § COUNSEL FOR DEFENDANTS APPT - (A), Retd - (R), FPD - (F)

 

ERIC PAUL KRUEGER l

 

 

 

 

_- iNiTiAL APPEARANCE l:l IDENT iTY @`§Bl$r)li>i§nhlnh“ .Piz"nifii\`/irNARY HEARING
l:.l DETENTioN HEARING l:l CoUNs 314 DETEHWWUTHEA‘EN"G'UREMWAL HEARiNol:l ExrRADirioN HEARING
l:l HEARING CoNTINUED oN CA'sIE'N'o“.M [l oTHER DisrRicr l:l nivisioN
DATE oF FEDERAL @cusrom: @’| 0 “§ )g l:l sURRENDER - RULE 5/32 l:l APPEARED oN wRir
EFT FiRsT APPEARANCE. DEFT ADvisED oF RiGHTs/cHARGEs l:l PRoBATioN/sUPERvIsED RELEAsE vioLAToR
y EFT FIRsr APPEARANCE WITH couNsEL.
§::FT l:l MW (MATERlAL wiTNEss) APPEAREDEWITH l:l wiTHoUT coUNsEL
QuEsrs APPoiNrED couNsi~:L.
1NANCIAL AFFIDAviT EXECUTED.
RDER APPomTiNG FEDERAL PUBLIC DEFENDER.
l:l PRivATE coUNsEL APPoiNTED
l:l DEFT HAs RETAINED coUNsEL
l___l ARRAIGNMENT sET l:l DETENTION HEARING sET
l__.l PRELIMINARY HEARING sET l:l BoND HEARING ser
l:l coUNsEL DETERMINATioN HEARiNG sEr
l:l iDENrirY/REMovAL HEARING sET
l:l BoNi) l:l sET [:l REDUCED To s l:l cAsH l:l sURETY l:l 10% l:l PR l:l UNS l:l 3RD PTY l] MW
EQRDER HoLDiNo DEFENDANT To ANs. & APPEAR m PRosEcUriNG DisrRicT ENTERED.
l:l oRDER oF rEMPoRARY DETENrioN/coMMiTMENT PENDING HEARiNo ENTERED.
l:l oRDER or DETENrioN PENI)ING TRIAL ENTERED.
l] DEFT ADvisEi) oF coNDITioNs oF RELEASE.
l__.l BoND EXECUTED l___l DEFT l:l Mw RELEASED [l sTATE AUTHoRiriEs l:l ins
EDEFT l:l Mw REMANDED To cUsToDY.
§KEFT oRnERED MovED ro oRiGINATiNG DisrRicT/CoMMITMENT To ANoTHER DISTRlCT ENTERED_

WAIVER oF RULE 5/32 HEARING As To: g ii)ENTiTY l:l PRELIMINARY HEARING 1351 orHER Disr. l:l PH rHis
DISTRlCT

l:l coURT FiNDs PROBABLE CAUsE [l 1D [l PC.

l:l DEFT FAILED To APPEAR. 0RAL oRDER FoR issUANCE oF BENCH wARRANT.

l]oovERNMENT ro NoTIFY FOREIGN CoNsULAR.

QKEMARKS: Coi)v of Indictment and Warrant received USDC Western District of Texas: Case No.

MO-08-CR-049-01

 

 

 

 

Case 7:08-cr-OOW-RA.] Document 177 Filed 06/168 Page 8 of 17

 

NORTHERN DlSTRlCT ()l‘~` ‘l`if`\'

 

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Umted States Dlstrlct Court !` "";
NORTHERN DISTRlCT or TEXAS AT FoRT woRTH JUN |0 2008

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CLERK, U.S. DlSTRlCT CUE`
By

WAIVER OF RULE 5(c) …`______

 

UNITED STATES OF AMERICA §
§ (Excluding Probation Cases)
V. §
§
ERIC PAUL KRUEGER § CASE NUMBER: 4:08-MJ-100(01)

I, Eric Paul Krueger, understand thatin the Western District of Texas, charges are pending alleging
Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substance, and that I have been arrested in
this District and taken before a United States Magistrate Judge who informed me of, the charge and of my right to:

(l) retain counsel or request the assignment of counsel if I am unable to retain counsel, (2) request transfer
of the proceedings to this district pursuant to Rule 20, Fed. R. Crim. P., in order to plead guilty, (3) an identity
hearing to determine if l am the person named in the charge, and (4) a preliminary examination (unless an indictment
has been returned or an information filed) to determine whether there is probable cause to believe an offense has
been committed by me, the hearing to be held in this district or the district of prosecution

I HEREBY WAIVE (GIVE UP) MY RIGHT TO A(N):

( ) identity hearing

( ) preliminary examination

( identity hearing and have been informed l have no right to a preliminary examination

( ) identity hearing, but request a preliminary examination be held in the prosecuting district

and, therefore, consent to the issuance of an order requiring my appearance in the prosecuting district where the
charge is pending against me.

/V-`_

D endant l /
/
Défése Counsel

June lO, 2008

 

 

U.s. Disrmcr c:or_:ar w

 

 

Case 7:08-cr-OO'-RA.] Document 177 Filed 06/1‘8 Page 9 of 17

IN THE UNITED STATES DISTRlCT COURl`
FOR THE NORTHERN DISTRlCT OF TEXA S

 

 

FoRT woRTH DivisioN
UNITED sTATEs or AMERICA §
§

v. § No. 4;03-MJ-100(01)
§
ERIC PAUL KRUEGER §

U.S. DISTRlCT COURT

NORTHERN DISTRlCT OF TEXAS

§`,FI.!:<ED__
§ JUN 10 2008
L_`.

CLERK, U.S. DlSTRlCT COURT

B_v

ORDER APPOINTING FEDERAL PUBLIC DEFENDER

Dc p u f_\_'

The above-named defendant has testified under oath, or has otherwise satisfied this court that

such defendant (1) is financially unable to employ counsel, (2) wants to be represented by counsel,

and (3) has not waived representation by counsel; accordingly,

lt is ordered that the Federal Public Defender’s Office for this District be and hereby is

appointed pursuant to Section 3006A of Title 18, United States Code to represent the defendant

named above.

lt is further ordered that the Federal Public Defender’s Ofi`ice be given immediate access to

the above-named Defendant.

Signed: June 10, 2008.

 

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CHARLES BLEIL

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UNITED STATES MAGISTRATE JUDGE

 

 

Case 7:08-cr-OOC'RA.] Document 177 Filed 06/1i< Pugc 10 of 1 7

U. S. DISTRlCT COURT
NORTHERN DlSTRlCT OF TEXAS

FILE l)

IN THE UNITED STATES DISTRlCT COUR'l` v w l a 2008
FOR THE NORTHERN DISTRlCT OF TEXA
FORT WORTH DIVISION

VJ

 

 

CLERK, U.S. DlSTRl(.T(()liRl
B_\

 

Deputy

UNITED STATES OF AMERICA
Case Number: 4:08-MJ-100 1011
V.
Charging District Case No.:
MO-08-CR-049-01

W>¢JO¢COQ¢O'>'»O'>OO>

ERIC PAUL KRUEGER

ORDER HOLDING DEFENDANT TO ANSWER AND TO APPEAR
IN DISTRlCT OF PROSECUTION OR DISTRlCT HAVING
PROBATION JURISDICTION
The Defendant having appeared before this Court pursuant to Rule 5(c), Federal Rules of

Crirninal Procedure, and proceedings having been concluded, and Defendant ORDERED

l;l n released.

IT lS ORDERED that the Defendant be held to answer in the United States District Court
for District of , and shall appear at all proceedings as

required

The Defendant shall next appear at (ifblank, to be notified)

 

Place and Ada'ress
on

 

Date and Time

 

/_
m/ detained

IT IS ORDERED that the Defendant is detained without bond and ordered removed

to the Charging District.

SIGNED June lO, 2008. W/ /U€e//

CHARLES BLEIL
UNITED STATES MAGISTRATE JUDGE

 

 

 

Case 7:08-cr-OOO.RA.] Document 177 Filed 06/158 Page 11 of 17

§ AO 94 (Rev. l2/03) Commitment to Another District

UNITED STATES DISTRlCT CoURT

 

 

 

 

 

 

 

 

Northem District[o§ gm 1111 1 §1§ ':T‘ifl"‘exas at Fort Worth
NORTHERN msrr ~ v 1;
UNITED srArEs oF AMERICA FIL§’JQ 'ENT TO ANOTHER
V. " ' DISTRlCT
ERIC PAUL KRUEGER §JUN l O 2008
DocKET NUMBER LL_"MRGTSTM*TE JUDGE CASE NUMBER
District ofArrest District of Offense 'Blstrlci‘df{\h§f) l R f § District of Offense

MO-OS-CR-049-L l 4.[08"}1'11- 100

 

 

 

 

CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
-ndictment Enformation I:I Complaint I:I Other (specify) \:| Petition

charging a 21 U.s.C. 341 (a)(i), 841(b)(1)(A)

 

DISTRlCT OF OFFENSE
WESTERN DISTRlCT OF TEXAS, MIDLAND-ODESSA DIVISION

 

DESCRIPTION OF CHARGES:

Distribute and possess with intent to distribute controlled substances

 

CURRENT BOND STATUS:

[l Bail fixed at and conditions were not met
§?{ivernment moved for detention and defendant detained after hearing in District of Arrest
Government moved for detention and defendant detained pending detention hearing in District of Offense

 

 

 

Other (specify)
/
Representation: l:IRetained Cyvn Counsel |]/Federal Defender Organization l] CJA [l None
Interpreter Required? [E<o l:l Yes Language:

 

DISTRlCT or
TO: THE UNITED STATES MARSHAL

You are hereby commanded to take custody of the above named defendant and to transport that
defendant with a certified copy of this commitment forthwith to the district of offense as specified above
and there deliver the defendant to the Unit ' District or to some other officer
authorized to receive the defendant

   

 

 

 

 

 

 

 

 

 

June 10, 2008
Date Judge
RETURN
This commitment was received and executed as follows:
DATE COMMITMENT ORDER RECEIvED PLACE OF COMMITMENT DATE DEFENDANT
DATE UNITED sTATEs MARSHAL (Bin DEPUTY MARSHAL

 

 

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FoR THE NORTHERN DISTRlCT or TE/n § ,_ § §
F<>RT woer DIVISION 111

UNITED sTATEs oF AMERICA § '

§ FHEP;. .__.
v. § Case No. 4 08-100- §J

§ 1 .MN |0 21118
MICHAEL zACHARlAH GOMEZ (2) § §

GovERNMENT’s MoTIoN FoR PRETRIAL Dr TEN‘H“§_ ’U'S' D'STR‘CT C°URT
_ Deputy

 

 

 

 

 

 

The United States moves for pretrial detention of the defendant pursuant to 18 U.S.L,. §§ 514£(e) and (f).

1. Eligibilig of Case: This case is eligible for a detention der because the case involves:

Crime of violence (18 U.S.C. § 3156) _ Maximum sentence of LIFE imprisonment or death
Controlled Substance offense punishable ___Felony involving a minor victim
by 10 or more years _Felony involving failure to register (18 U.S.C. § 2250)

Fclony with 2 prior convictions in above categories
Felony involving the possession or use of a firearrn, destructive device, or other dangerous weapon
Serious risk that the Defendant will flee _Serious risk that Defendant will obstruct justice

2. Reason for Detention: The Court should detain the Defendant because there are no conditions of release which would

reasonably ssure:

Defendant's appearance as required X_The safety of the community _The safety of another person.

3. Rebuttable Presum tion: The United States will/ will not invoke the rebuttable presumption against the Defendant

 

because there is probable cause to believe that the Defendant has committed

Controlled Substance Offense punishable by 10 or more years imprisonment
Firearms offense under 18 U.S.C. § 924(0)

Felony involving a minor victim (18 U.S.C. § § 1201, 2251)

Federal crime of terrorism, 18 U.S.C. § § 2332b(g)(5)

Previous conviction for “eligible” offense committed while on pretrial bond

4. Time for Detention Hearin : The United States requests the Court to conduct the detention hearing _ at the

 

Defendant's first appearance_____; after a continuance of L days.

Respectfu|ly submitted,

RICHARD B. ROPER

UNIT ST TESA:Y?/
_ » \

RoBERT A. KLINCK
Assistant United States Attomey
Texas State Bar No. 24036917
801 Cherry Street, Suite 1700
Fort Worth, Texas 76102
Telephone: 817.252.5200
Facsimile: 817.978.3094

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above pleading was this day served upon the Defendant or his counsel
of record in accordance with the provisions of Rule 49 of the Federal Rules of Criminal Procedure.

RoBERT A. KLINCK/ /
Assistant United States Attomey

 

 

Case 7:08-cr-OOC.RA.] Document 177 Filed 06/1‘8 Page 13 of 17

UNITED STATES DISTRlCT COURT
NORTHERN DISTRlCT OF TEXAS

 

 

 

 

 

DrvrsroN
JUDGE; cHARLEs BLEIL

DEPUTY cLERK; JULIE HARWELL COURT REPORTER/rAPE No; DIGITAL FILE

LAW CLERK; usPo/Prso: B\CU\QQ H\QQQ l \ vi ha
INTERPRETER; couRT TIME; L.\, \(Y\‘\ n U\~§ 13

A.M. P.M. WD\`BH' DATE: JUNE 10, 200‘8

 

 

 

 

 

 

 

U.S. DISTRlCT COURT

NORTH'§ .T£<fs§\liJ’-‘f`b§wz) ` ’
W§§B § R©\,>€(`+ 1411 (\C/`/\

 

 

 

 

uNITED srArEs oF AMERICA AUSA

v. J.N la m

MICHAEL ZACHARIAH GoMEZ 6 \J®\ \ \ (1 W\ gil Q \[ H/
’ /

 

CLERK, U.S. DlSTRlclé COH§[RSEL]

Bv oR DEFENDANTS APPT - (A), Rerd - (R), FPD - (F)

DEFENDANT(S) NAME(S) AND NUMBER(S)
Deputy

 

 

 

__- INITIAL APPEARANCE |:] IDENTITY L_| BOND HEARING m PRELIMmARY HEARING
l:] DETENTION HEAR]NG l:l CoUNsEL DETERMINATION HEARING l:l REMovAL HEARINGE| EXTRADITION HEARING
l___l HEARING CoNTrNUED oN CASE No. |:l oTHER DISTRlCT l:l DIVISION
TE 0F FEDERAL.r/CUsToDY; {Q ~/I O “Q l:| sURRENDER l RULE 5/32 I:] APPEARED oN WRIT
BQEFT FIRsT APPEARANCE. DEFT ADvlsED or RlGHTs/CHARGES |:l PRoBATloN/sUPERvIsED RELEASE vloLAToR
EQEFT FIRsr APPEARANCE WITH CouNsEL.
Fr l:| Mw (MATERIAL wlTNEss) APPEARED`MQVITH |:l wlTHoUT CoUNsEL
UEsTs APPoINTED coUNsEL.
INANCIAL AFFIDAvIT EXECUTED.

l:| oRDER APPoINTlNG FEDERAL PUBLIC DEFENDER.
EQRIVATE coUNSEL APPoINTED 1b )`, § h g ga §§ 4>(
D

 

 

EFT HAS RETAINED couNsEL
|:l ARRAIGNMENT sET E DETENTION HEARING sET
\:l PRELIMINARY HEARING sEr |:l BOND HEARING sET

[| couNsEL DETERMINATION HEARING sET
l:| IDENTITY/REMOVAL HEARING sET
l:l BOND l:l sET m REDUCED To s l:l CAsH 13 suner |:l 10% l:l PR l:| UNs l:| 3RD PTY l:l Mw
JZLQRDER HOLDING DEFENDANT ro ANs, & APPEAR IN PRosECUTrNo DISTRlCT ENTERED.
L__l oRDER or TEMPORARY DETENTIoN/COMMITMENT PENDING HEARING ENTERED.
l:l oRDER or DETENTION PENDING TRIAL ENTERED‘
l:l DEFT ADVISED oF CoNDITIoNs or RELEASE.
l:l oND EXECUTED l:| DEFT [] Mw RELEASED l:l sTArE AUTHoRITIEs |:| rNs

EFT |:l MW REMANDED To CUSTODY.

DEFT oRDERED REMovED To omGINATING DISTRlCT/COMMITMENT To ANoTHER DISTRlCT ENTERED.

~rvER oF E-WLE 5/32 HEARING As ro; ENTITY l:| PRELIMINARY HEARING EQHOTHER Dlsr, |:| PH THIS

DISTRlCT D \+
l:l COURT FINDS PRoBABLE CAUSE 13 ID l:l Pc.
l:l DEFT FAILED ro APPEAR. oRAL oRDER ron lssUANCE oF BENCH WARRANT.
l:| ovERNMENT ro NoTIFY FoREIGN coNsuLAR.
)£EMARKS; Conv of Indictment and Warrant received USDC Western District of Texas; Case No.

MO-08-CR-049-02

 

 

Case 7:08-cr-OOC,RA.] Document 177 Filed 06/1 Page 14 of 17
`CJA 20 APPOINTMENT OF AND AUTHORITY TO PA COURT APPOINTED COUNSEL (Rev. 12/03)

 

l

. CIR./DIST./ DlV. CODE 2, PERSON REPRESENTED

Michael Zachariah Gomez

 

VOUCH`ER NUMBER

 

 

3. MAG. DKT./DEF. NUMBER

4, DIST. DKT./DEF. NUMBER
4:08-MJ-100(02)

5. APPEALS DKTJDEF. NUMBER 6. OTHER DKT. NUMBER

 

7. lN CASE/MATI'ER OF (Case Name)

8. PAYMENT CATEGORY

 

X Fclony Petty Offense X Adult Defendant lj Appellant (See Instructions)
USA v. Gomez Misdemeanor El Other |] Juvenile Defendant Cl Appellee
IJ Appeol El Orher

9. TYPE PERSON REPRESENTED 10. REPRESENTATION TYPE

 

 

l l. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Seetion) lfrnore than one o[ense, list (up tofrve) major ojenses charged according to severity of ofense.

21 :841(a)(l), (b)(l )(A); 21; 846 Conspiracy to disri|>ute and possess with intent to distribute controlled substances

 

l

2. ATl`ORNEY’S NAME (Fir.rt Name, M.l., La.\‘t Name, including any sujix),
AND MAILlNG ADDRESS

William H. Ray
5|2 Main Street, Suite 308
Fort Worth, Texas 76102

U.S. DISTRlCT COURT

T°'°P*‘°"¢ NORTHERN n:smrc§rgor` TEXAS

 

 

l4 NAMEANDW

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L‘l\b¢ '”

JUN\OZUOB

 

lLING ADD ovide per

 

CL'ERK, U.S. DlSTRlCT COURT

B ___________________-
y Deputy

 

 

  
    

CATEGORlES (Attach itemization af services with dates)

13. COURT ORDER

X 0 Appointing Counsel
F Subs For Federal Defender
P Subs For Pane| Attomey

E| C Co-Counsel
R Subs For Retained Attomey
Cl Y Standby Counsel

Prior Attomey’s
Appointment
Because the above'named person represented has testified under oath or has‘
satisfied this Court that he or she (l) is financially unable to employ counsel
and (2) does not wish to waive counsel, and because the interests of justice so

:;t]uire, the latt 's appointed to represent
is '

 

  

 

v Signature of Presiding Judge or By Order of the Court

ltg§ lO. 2008

Date of Order Nune Pro 'l`unc Date
Repayment or partial repayment ordered from the person represented for this service at time
appointment Cl YES D NO

   

 

15.

a. An'aignment and/or Plea

 

 

b. Bail and Detentioo Hean`ngs

  

 

c. Motion Hearings

 

 

d. Trial

  

 

e. Sentencing Hearings

  

 

f. Revocatioo Hwings

lo Court

  

 

s~ APP@|SCM

 

h. Othet (Sch on additional sheet.r`

 
 

 

(RA'I`E PER HOUR = $ ) TOTALS:

 

...
P`

a. lnterviews and Conferenoes

 
 

 

b. Obtaining and reviewing records

 

c. Legal research and brief writing

 

 

d. Travel time

 

Out of Court

e. lnvestigative and other work (Specijv on additional sheets)

 

 

(RATE PER HOUR = $ ) TOTALS:

 

Travel Expenses (lodging, parking meals, mileage, etc.)

 

    

 

Other -~ »~'s otherthan '»» / rt.lranscr‘tr, e!c,

. CERT!F!CA'HON OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE

FROM: TO:

     
  

 

 

    

 

 

 

20. APPon~ITMENr TERMiNAnoN DAnz
tr oman mAN cAsE cor/inmon

21. CASE DISPOSIT|ON

 

 

 
     
   

22.

   

CLAIM STATUS U Final Payment Cl lnterim Payment Nurnber
Have you previously applied to the court for compensation and/or reimbursement for this

 

representation? El YES l'J NO Ifyes, give details on additional sheets
l swear or affirm the truth or correctness of the above statements

Signature of Attomey

U YES
Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything ofvalue) from any other source in connection with this

El Supplemental Payment

DNO UYES DNO

If yes, were you paid?

 

 

 

 

 

 

 

 

 

 

 

 

. lN COURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 27. OTAL AMI`. APPR./CERT.
28. SIGNATURE OF THE PRESlDING .TUDGE DATE 28a JUDGE CODE
29. lN COURT COMP. 30. OUT OF COURT COMP. 3l. TRAVEL EXPENSES 32. O'I'HER E)CPENSES 33. TOTAL AMT. APPROVED
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved DATE

in excess of the statutory threshold amount

34a. JUDGE CODE

 

 

 

 

 

 

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U.S. l)lSTRlCT COURT

United States District Court N°“T"E“NF“§§`§§OM

NORTHERN DISTRlCT OF TEXAS AT PORT WORTH

 

 

JUN 102008

 

 

 

 

 

UNITED sTATEs oF AMERICA § WAIVER oF RULE 5(c) HEBHHN§Q>‘STR'CT COURT
§ (Excluding Probation Cases)B"'_`°tZ;my_'_
V. §
§
MICHAEL ZACHARIAH GOMEZ § CASE NUMBER: 4;08-MJ-100(02)

I, Michael Zachariah Gomez, understand that in the Western District of Texas, charges are pending
alleging Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substance, and that I have been
arrested in this District and taken before a United States Magistrate Judge who informed me of, the charge and of my
right to:

(l) retain counsel or request the assignment of counsel if I am unable to retain counsel, (2) request transfer
of the proceedings to this district pursuant to Rule 20, Fed. R. Crim. P., in order to plead guilty, (3) an identity
hearing to determine if I am the person named in the charge, and (4) a preliminary examination (unless an indictment
has been returned or an information filed) to determine whether there is probable cause to believe an offense has
been committed by me, the hearing to be held in this district or the district of prosecution

l HEREBY WAIVE (GIVE UP) MY RIGHT TO A(N):

/(>§ identity hearing
( ) preliminary examination
( ) identity hearing and have been informed I have no right to a preliminary examination
( ) identity hearing, but request a preliminary examination be held in the prosecuting district

and, therefore, consent to the issuance of an order requiring my appearance in the prosecuting district where the

M,,W'

Defendant y w y
June 10, 2008 L’\.`
Defense Comsz/

charge is pending against me,

 

 

Case 7:08-cr-OO‘-RA.] Document 177 Filed USMB Page 16 of 17

 

U.S. DISTRlCT COl`,‘RT
NORTHERN DlS'l`RlCT OP` TEXAS

E_l_;L_E_P

IN THE UNITED STATES DISTRlCT COURT
FOR THE NORTHERN DISTRlCT OF TEXAS

    

 

 

FORT WORTH DIVISION
CLERK, u.s. msrnrc'r CouR'r

UNITED sTArEs or AMERICA § “~" ,,W_` t

§ Case Number: 4 :08-MJ-1Uu guZL -
V. §

§ Charging District Case No.:

§ MO-08-CR-049-02
MICHAEL ZACHARIAH GOMEZ §

ORDER HOLDING DEFENDANT TO ANSWER AND TO APPEAR
IN DISTRICT OF PROSECUTION OR DISTRlCT HAVING
PROBATION JURISDICTION
The Defendant having appeared before this Court pursuant to Rule 5(c), Federal Rules of

Criminal Procedure, and proceedings having been concluded, and Defendant ORDERED

m released

IT IS ORDERED that the Defendant be held to answer in the United States District Court
for District of , and shall appear at all proceedings as

required

The Defendant shall next appear at (ifblank, to be notified)

 

Place and Address
on ‘

 

Date and T ime

 

- /
d detained

IT IS ORDERED that the Defendant is detained without bond and ordered removed

to the Charging District.

SIGNED June 10, 2008. W /,.\

CHARLES BLEIL
UNITED STATES MAGISTRATE JUDGE

 

 

13

 

 

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§ AO 94 (Rev. 12/03) Commitment to Another District

 

UNITED STATES DISTRlCT COURT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Northem District of Texas at Fort Worth
UNITED STATES OF AMERICA COMMITMENT TO ANOTHER
V' FITHSri`§l'sl.'dis'rnic'r Counr
NORTHERN DISTRlCT ()F TEXAS
MICHAEL ZACHARIAH GOMEZ F[LED
DOCKET NUMBER MAGISTRATE IUDGE C ASE NUMBE
District of Arrest District of Offense District of Arrest mich 0
MO-08-CR-049-02 4:08-MJ-100(02)
CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN CLERK, U.S. DlSTRICT COU 1'
-ndictment l:lnformation I:l Complaint l:] Other (specify) E PetitionB-V Deputy
charging a 21 U.S.C. 841 (a)(l), 84l(b)(l)(A); 846
DISTRlCT OF OFFENSE
WESTERN DISTRlCT OF TEXAS MlDLAND-ODESSA DIVISION
DESCRIPTION OF CHARGES:

Conspiracy to Distribute and possess with intent to distribute controlled substances

 

CURRENT BOND STATUS:

I:| Bail fixed at and conditions were not met
§/Qéovemment moved for detention and defendant detained after hearing in District of Arrest
overnment moved for detention and defendant detained pending detention hearing in District of Offense

 

 

 

Other (specify)
Representation: ljRetained O)lfn Counsel l:l F ederal Defender Organization M l:l None
Interpreter Required? 1340 I:I Yes Language:

 

DISTRlCT 0F
TO: THE UNITED STATES MARSHAL

You are hereby commanded to take custody of the above named defendant and to transport that
defendant with a certified copy of this commitment forthwith to the district of offense as specified above

 
  
 

 

 

 

 

 

 

 

 

and there deliver the defendant to the United Sta shal for that ` ' t or to some other officer
s authorized to receive the defendant / / /
June 10, 2008
Date Judge
RETURN

This commitment was received and executed as follows:

DATE COMMITMENT oRDER RECEIVED PLACE OF COMMITMENT DATE DEFENDANT
DATE UNrrED srArEs MARSHAL (BY) DEPUTY MARSHAL

 

 

 

 

 

 

